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                   SC NAACP v. Alexander,
       D.S.C. Case No. 3:21-cv-03302-MGL-TJH-RMG




                     Exhibit C
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                                                                       Page 1

 1
                    IN THE UNITED STATES DISTRICT COURT
 2                   FOR THE DISTRICT OF SOUTH CAROLINA
                             COLUMBIA DIVISION
 3
        -----------------------------------------x
 4      THE SOUTH CAROLINA STATE
        CONFERENCE OF THE NAACP, et al.,
 5
                              Plaintiffs,
 6
 7                                    Civil Action No.
        vs.
 8                                    3:21-cv-03302-MBS-TJH-RMG
 9
        THOMAS C. ALEXANDER, et al.,
10
                         Defendants.
11      -----------------------------------------x
12
                                   Remote deposition
13
                                   July 6, 2022
14
                                   10:02 a.m.
15
16
17
18            VIDEO-RECORDED VIDEOCONFERENCE DEPOSITION of
19      EMMA DEAN, before Michele Moskowitz, a shorthand
20      reporter and Notary Public of the State of New
21      York.
22
23
24
25

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                                                                   Page 49

 1                                    DEAN
 2      was a lot of information.
 3             Q.     Do you recall reviewing any materials
 4      on the legal definition of intentional
 5      discrimination?
 6             A.     Again, I don't -- I don't want to
 7      waive any attorney-client privilege here.                      The
 8      more we're getting into the research that I do,
 9      you know, that -- that's difficult to me.                      I
10      don't recall anything like that, but, again, I
11      just remind you that I'm an attorney working for
12      my clients.
13             Q.     Understood.
14             A.     I don't recall.
15             Q.     I'm just asking if -- about the
16      materials that you reviewed in preparation for
17      the map room.       I was not trying to get into any
18      kinds of conversations you had.
19             A.     Sure.
20             Q.     Okay.      Do you know what intentional
21      discrimination means in the context of
22      redistricting?
23             A.     I would -- you know, again, this
24      is -- we're at July 6, 2022.                As I probably
25      mentioned in the last deposition, I -- I don't

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